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                                IN THE UNITED STATES BANKRUPTCY COURT
                                     FOR THE DISTRICT OF DELAWARE


In re

AMERICAN HOME MORTGAGE                                          Chapter 11
HOLDINGS, INC., et al.,                                         Case No. 07-11047-CSS, et seq.

                                 Debtors.


               ORDER TERMINATING AUTOMATIC STAY UNDER
        SECTION 362 OF THE BANKRUPTCY CODE WITH RESPECT TO REAL
      PROPERTY LOCATED AT 1351 MEDINA AVENUE NW, PALM BAY, FL 32907
                     (relates to Docket Nos. ___________________)

           UPON CONSIDERATION of the Motion for Relief from Automatic Stay Under Section

362 of the Bankruptcy Code with Respect to Real Property Located at 1351 Medina Avenue

NW, Palm Bay, FL 32907 (the “Motion”) filed by Washington Mutual Bank (“Movant”), and

any response thereto; the Court having determined that (A) the Court has jurisdiction over the

Motion pursuant to 28 U.S.C. §§ 157 and 1334; (B) this is a core proceeding pursuant to 28

U.S.C. § 157(b)(2); (C) venue is proper pursuant to 28 U.S.C. § 1409(a); and (D) service to the

limited parties stated on the Certificate of Service is adequate under the circumstances; and the

Court having further determined that cause exists to grant Movant relief from the automatic stay

with respect to Movant’s exercise of any rights and remedies against the real property located at

1351 Medina Avenue NW, Palm Bay, FL 32907 (the “Property”) under applicable non-

bankruptcy law; it is hereby

           ORDERED, that the Motion be, and the same is hereby GRANTED. All capitalized

terms not otherwise defined herein shall have the respective meanings set forth in the Motion;

and it is further



Movant: Washington Mutual Bank
D&G Reference: 214771
Property Address: 1351 Medina Avenue NW, Palm Bay, FL 32907
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        ORDERED, that pursuant to 11 U.S.C. § 362(d), to the extent the automatic stay is

otherwise applicable, Movant is hereby granted relief from the automatic stay, and the automatic

stay is terminated, with respect to Movant’s interest in the Property. Movant is hereby permitted

to exercise its rights under applicable non-bankruptcy law against the Property, including but not

limited to foreclosure of the Mortgage; and it is further

        ORDERED, that nothing in this order (i) shall constitute a determination that American

Home Mortgage Holdings, Inc. or its affiliated debtors (the “Debtors”) hold any interest in the

Property or (ii) shall estop the Debtors from denying that they hold any interest in the Property;

and it is further

        ORDERED, that this Order is immediately effective and is not stayed by operation of

law, notwithstanding the stay provisions of Fed. R. Bankr. P. 4001(a)(3).



Date:
        Wilmington, Delaware                  HONORABLE CHRISTOPHER S. SONTCHI
                                              UNITED STATES BANKRUPTCY JUDGE




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